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                     IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

 CARL FULK, an individual                      )
                                               )
        Plaintiff,                             )
                                               )
 v.                                            )       Case No. 3:16-cv-01237-SMY-DGW
                                               )
 UNITED STATES OF AMERICA,                     )
                                               )
        Defendant.                             )

  STIPULATION FOR VOLUNTARY DISMISSAL WITHOUT PREJUDICE PURSUANT
                        TO RULE 41(a)(1)(A)(ii)

        Plaintiff, Carl Fulk by and through his attorney, David N. Damick, and Defendant, United

 States of America, by its attorneys, Donald S Boyce, United States Attorney for the Southern

 District of Illinois, and Nathan E. Wyatt and Nicholas J. Biersbach, Assistant United States

 Attorneys, hereby jointly stipulate to the voluntary dismissal of this action in its entirety without

 prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), with each party to bear their

 own costs.

        Respectfully submitted,

        s/ David N. Damick                             DONALD S. BOYCE
        David N. Damick #6208797                       United States Attorney
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                                                       (Attorneys for the United States)
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                                 CERTIFICATE OF SERVICE

         I, David Damick, attorney for Plaintiff, in the above-captioned action, hereby certify that
 on the November 16, 2017, I electronically filed the foregoing with the Clerk of the District Court,
 using the CM/ECF system which will serve notice on all parties who have appeared.


                                                       s/ David N. Damick




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